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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                              MAGISTRATE JUDGE NINA Y. WANG


Civil Action:            11-cv-02285-NYW                  Date: July 12, 2018
Courtroom Deputy:        Brandy Wilkins                   FTR: NYW COURTROOM C-204*

                  Parties                                                           Attorney(s)

 CENTER FOR LEGAL ADVOCACY,                                                       Caleb Durling
                                                                                 Ellie Lockwood
                                                                                    Iris Eytan
                                                                                 Jason M. Lynch
                            Plaintiff,

 v.

 REGGIE BICHA,                                                                Elizabeth J. McCarthy
 TERESA A. BERNAL,                                                               Lauren K. Peach
                                                                                Tanya E. Wheeler

                            Defendants.


                            COURTROOM MINUTES/MINUTE ORDER

STATUS CONFERENCE

Court in Session: 3:01 p.m.

Appearance of counsel. Mr. Mark Ivandick and Ms. Jennifer Purrington appear on behalf of
Disability Law Colorado. Dr. Robert Werthwein appears with Mss. McCarthy, Peach and Wheeler.

Discussion held regarding the issues outlined in the Joint Status Report [88] filed July 9, 2018.
Parties do not anticipate taking any discovery. The parties do not anticipate presenting evidence,
only oral argument.

ORDERED: Oral Argument is set for September 28, 2018, at 10:00 a.m. before Magistrate
        Judge Nina Y. Wang for two-hours. Each party will be granted 30 minutes of
        argument. No live testimony is anticipated.

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AB Court Reporting & Video, Inc. at (303) 629-8534.
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ORDERED: The following schedule will govern the briefing:

             The Parties will simultaneously file motions for summary judgment no later
             than August 15, 2018.

             Any responsive briefs will be due no later than September 5, 2018.

             No later than September 12, 2018, the Parties will exchange their proposed
             evidentiary submission lists.

             No later than September 17, 2018, the Parties will meet and confer about their
             proposed evidentiary submission lists and prepare a joint evidentiary
             submission list, including any stipulations or objections as well as a list of
             undisputed facts, with any unresolved objections to the admissibility of certain
             evidence to be determined by the court at the hearing and the basis and
             response for all such objections.



  Court in Recess: 3:07 p.m.         Hearing concluded.          Total time in Court: 00:06
